        Case 1:14-cv-01089-KG-SMV Document 346 Filed 01/11/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

WAYNE KENNETH AUGÉ, II, M.D.,
Individually and as Trustee on Behalf of
Covalent Global Trust,

        Plaintiff,

vs.                                                                  CV No. 14-1089 KG/SMV

STRYKER CORPORATION, and
HOWMEDICA OSTEONICS CORP.,

        Defendants.


      ORDER GRANTING IN PART AND DENYING IN PART UNOPPOSED MOTION TO
              CONTINUE TRIAL AND VACATE PRETRIAL DEADLINES

        This matter is before the Court on Defendants’ Unopposed Motion to Continue Trial and

Vacate Pretrial Deadlines (Motion) (Doc. 345). In their Motion, Defendants request that the

Court continue trial, currently scheduled to commence March 1, 2021, in light of the ongoing

COVID-19 pandemic. In addition, Defendants ask the Court to extend the pretrial motions

deadlines.

        Having reviewed the Motion, the Court finds good cause to continue the trial because of

the current COVID-19 pandemic, until such a time as the conditions permit safe and fair in-

person proceedings. However, Defendants do not explain why the current pretrial motions

deadlines should also be extended. As a result, the Court grants Defendants’ request to continue

the jury trial and denies without prejudice the request to extend the pretrial motions deadlines.

        IT IS, THEREFORE, ORDERED that Defendants’ Unopposed Motion to Continue Trial

and Vacate Pretrial Deadlines (Doc. 345) is granted in part and denied in part. The pretrial

conference, set for February 18, 2021, and the jury trial scheduled to commence March 1, 2021,
      Case 1:14-cv-01089-KG-SMV Document 346 Filed 01/11/21 Page 2 of 2




are continued until further Order of this Court. All other deadlines, including all pretrial motions

deadlines, as set forth in this Court’s Notice of Civil Jury Trial (Doc. 332) shall remain in effect.

       IT IS ORDERED.




                                               UNITED STATES DISTRICT JUDGE
